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UNITED STATES FEDERAL COURT FOR THE DISTRICT OF MASSACHUSETTS
CIVIL DOCKET NO: l:lS~cv- l 3656-JGD

 

ANDRE BISASOR
PLAINTIFF,

V.

DONNA ASHTON; ASHTON LAW PC,
DEFENDANTS

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FINAL MOTI()N AND STATUS REPORT

This status update is to inform the court that the settlement terms have still not been completed The
parties need another final 30 days from today (i.e. until November l6, 2018) to finalize/complete all
remaining terms, including the obtaining of vacatur of default judgment in the Dedham district court,
pursuant to the settlement agreement.

The parties have been working on completing all of the terms of the settlement, which have included
several courts, and they are in full communication and cooperation to get the remaining steps completed as
expeditiously as possible, but the remaining terms require certain final steps within the Dedham district court
be completed, including receiving a final order from the Dedham district court granting vacatur of default
judgment and to close the case therein.

Given the above, the plaintiff anticipates that this will be the absolute final status report that will need
to be made to this court and that a stipulation of voluntary dismissal will be filed in this court by or within
the next 30 days, i.e. on or before November l6, 2018. The plaintiff requests this time until November 16,
2018 for extension on the nissi-order in order to allow for the settlement terms to be fully and finally
completed »

WHEREFORE, the plaintiff hereby humbly requests this Honorable Court grant our request and/or
other relief that the Court deems just and proper.

Respectfully submitted,

M_ &Q§M
Plaintiff Andre Bisasor
119 Drum Hill Rd, #233
Chelmsford MA 01824
781-492-5675

Dated: October 12, 2018

